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IN THE UNITED sTATEs DISTRICT coURT FV w JYW x
FOR THE WESTERN DISTRICT 0F TENNESSEE `“‘: ‘ id C

 

 

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UNITED sTATEs 0F AMERICA ) CR No 970§§§;§§¢~1»41¢ iii §§un
) 97-20235-M"1
Piaimiff, ) 97 20236 Ml
) 97-20237-M1
vs ) 97-20238-M1
) 97-20239-1\/11
EDDIE JETER ) 97-20240_M1
) 97 20241 Ml

Defendam. ) 05 20014-M1 »/

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI-MEMPHIS
(SCP), 1101 Joho A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER
§LML

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the _L/_ day of August, 2005.

MMM

JO PHIPPS McCALLA
U ITED STATES DISTRICT JUDGE

This document entered on the docket Sheet in compliance
with mule ss and/or azrb) Fach on ' 'O_\“

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED S`…ATEISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20014 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

